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8
9                                 UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11
12
      JONATHAN HOANG TO; JEFFRY HEISE;                      Case No. 3:24-CV-06447-WHO
13    and JOSEPH MULL, individually and on
      behalf of all others similarly situated,              DECLARATION OF JULIAN
14                                                          HAMMOND IN SUPPORT OF
                                                            STIPULATION TO EXTEND
15                            Plaintiff,                    BRIEFING SCHEDULE ON
                                                            DEFENDANTS’ MOTION TO STAY
16                                                          AND COMPEL ARBITRATION AND
      v.                                                    CONTINUE HEARING DATES
17    DIRECTTOU, LLC; and ALLIANCE
18    ENTERTAINMENT, LLC, Delaware Limited
      Liability Companies,
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                             Defendants.
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                                DECLARATION ISO STIPULATION TO EXTEND DEADLINES
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1
              I, Julian Hammond, declare as follows:
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              1.      I am a member in good standing of the Bar of the State of California and counsel
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     of record for Plaintiffs and the putative Class. I make this declaration based on personal knowledge
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     and, if called as a witness, I could and would testify competently to the matters set forth herein.
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              2.      The following time modifications have been previously stipulated by the parties or
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     ordered by the Court:
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                      a.      On September 18, 2024, the Court extended Defendant Directtou’s
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     responsive pleading deadline until October 21, 2024.
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                      b.      On October 28, 2024, the Court granted extended Defendant Directtou’s
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     responsive pleading deadline until November 4, 2024.
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                      c.      On November 13, 2024, the Court reset the hearing on Plaintiff Hoang To’s
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     Motion for Preliminary Approval of Class Action Settlement to December 4, 2024.
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                      d.      On November 19, 2024, the Court granted the parties’ stipulation to vacate
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     the Initial Case Management Conference and suspend the Rule 26 deadlines.
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                      e.      On February 12, 2025, the Court extended Defendants’ responsive pleading
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     deadline until March 10, 2025.
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                      f.      On March 10, 2025, the Court re-set the hearing on Plaintiffs’ Motion for
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     Appointment of Interim Co-Lead Class Counsel to April 16, 2025.
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              3.      No other time modifications have been made in this case.
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              4.      The requested time modification will not otherwise impact on the schedule in this
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     case.
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     I hereby declare under penalty of perjury of the laws of the United States that the foregoing
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     statements are true and correct. Executed on March 12, 2025.
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26                                                   /s/ Julian Hammond
27                                                   Julian Hammond
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                                 DECLARATION ISO STIPULATION TO EXTEND DEADLINES
                                            CASE NO 3:24-CV-06447-WHO
